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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

  DAVID DEUTSCH,
                                                     Civil Action No. 7:23-cv-03417-KMK
                          Plaintiff,

  v.
                                                         ANSWER TO COMPLAINT,
  EQUIFAX INFORMATION SERVICES,                      AFFIRMATIVE DEFENSES AND JURY
  LLC, TRANSUNION LLC; CAPITAL ONE,                    DEMAND ON BEHALF OF STATE
  N.A.; DISCOVER BANK; AND STATE                            FARM BANK, F.S.B.
  FARM BANK, F.S.B.,

                          Defendants.


        Defendant, State Farm Bank, F.S.B. (“State Farm”), by way of Answer to the Complaint

filed herein says:

                                   NATURE OF THE ACTION

        1.     State Farm denies the allegations set forth in paragraph 1, except admits that

Plaintiff purports to raise causes of action for violations of the Fair Credit Reporting Act

("FCRA"), 15 U.S.C. §1681, et seq. State Farm denies that this claim is valid and denies that

State Farm has violated the law in anyway.

                                  JURISDICTION AND VENUE

        2.     Paragraph 2 constitutes a conclusion of law to which no response is required. To

the extent a response is required, Plaintiff lacks Article 3 standing.




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        3.       Paragraph 3 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm does not presently dispute venue for the purposes of

this response.

                                             PARTIES

        4.       State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegation set forth in Paragraph 4 and, therefore, denies them. To the extent any

other response is required, denied.

        5.       State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 5 and, therefore, denies them and demands proof

thereof.

        6.       State Farm makes no response to the allegations directed against co-defendants.

        7.       State Farm makes no response to the allegations directed against co-defendants.

        8.       State Farm makes no response to the allegations directed against co-defendants

        9.       State Farm makes no response to the allegations directed against co-defendants.

        10.      State Farm makes no response to the allegations directed against co-defendants.

        11.      State Farm makes no response to the allegations directed against co-defendants.

        12.      State Farm makes no response to the allegations directed against co-defendants.

        13.      State Farm makes no response to the allegations directed against co-defendants.

        14.      State Farm makes no response to the allegations directed against co-defendants.

        15.      State Farm makes no response to the allegations directed against co-defendants.

        16.      State Farm makes no response to the allegations directed against co-defendants.

        17.      State Farm makes no response to the allegations directed against co-defendants.

        18.      State Farm makes no response to the allegations directed against co-defendants.



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        19.    Paragraph 19 constitutes a conclusion of law in which no response is required. To

the extent that a response is required, admitted.

        20.    Paragraph 20 constitutes a conclusion of law to which no response is required.

                                  FACTUAL ALLEGATIONS

        21.    State Farm incorporates by reference the responses to Paragraphs 1 through 20 of

the Complaint as though fully stated herein.

        22.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 22 and, therefore, denies them and demands proof

thereof.

        23.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 23 and, therefore, denies them and demands proof

thereof.

        24.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in subparagraphs (i-ii) and, therefore denies them and demands

proof thereof. State Farm admits the allegations set forth in subparagraph (iii) of Paragraph 24.

        25.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 25 of the Complaint and therefore denies them and

demands proof thereof.

        26.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 26 of the Complaint and therefore denies them and

demands proof thereof.

        27.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 27 of the Complaint and therefore denies them and

demands proof thereof.

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        28.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 28 of the Complaint and therefore denies them and

demands proof thereof.

        29.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 29 of the Complaint and therefore denies them and

demands proof thereof.

        30.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 30 of the Complaint and therefore denies them and

demands proof thereof.

        31.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 31 of the Complaint and therefore denies them and

demands proof thereof.

        32.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 32 relating to defendants other than State Farm and,

therefore, denies them. As to the remaining allegations of Paragraph 32, same are denied.

        33.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 33 and, therefore, denies them and demands proof

thereof.

        34.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 34 and, therefore, denies them and demands proof

thereof.




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        35.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 35 and, therefore, denies them and demands proof

thereof.

        36.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 36 and, therefore, denies them and demands proof

thereof.

        37.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 37 and, therefore, denies them and demands proof

thereof.

        38.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 38 and, therefore, denies them and demands proof

thereof.

        39.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 39 and, therefore, denies them and demands proof

thereof.

        40.    State Farm refers Plaintiff to the alleged written documents for an accurate

reading of its content denying any allegations that are consistent therewith.

        41.    Paragraph 41 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm denies any allegation of wrongdoing that may be set

forth against in Paragraph 41 of the Complaint.

        42.    State Farm makes no response to the allegations directed against co-defendants.

        43,    State Farm makes no response to the allegations directed against co-defendants.

        44.    State Farm makes no response to the allegations directed against co-defendants.



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        45.    State Farm makes no response to the allegations directed against co-defendants.

        46.    State Farm makes no response to the allegations directed against co-defendants.

        47.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 47 and, therefore, denies them and demands proof

thereof.

        48.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 48 and, therefore, denies them and demands proof

thereof.

        49.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 49 and, therefore, denies them and demands proof

thereof.

        50.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 47 and, therefore, denies them and demands proof

thereof.

        51.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 51 and, therefore, denies them and demands proof

thereof.

        52.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 52 and, therefore, denies them and demands proof

thereof. By way of further response, State Farm denies any allegation of wrongdoing that may

be set forth against it in Paragraph 52 of the Complaint.




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        53.    Paragraph 53 constitutes a conclusion of law to which no response is required, To

the extent a response is required, State Farm denies any allegation of wrongdoing that may be set

forth against it in Paragraph 53 of the Complaint.

        54.    State Farm makes no response to the allegations directed against co-defendants.

With respect to the remaining allegations set forth in Paragraph 54 of the Complaint, State Farm

denies any allegation of wrongdoing that may be set forth against it.

        55.    State Farm makes no response to the allegations directed against co-defendants.

With respect to the remaining allegations set forth in Paragraph 55 of the Complaint, State Farm

denies any allegation of wrongdoing that may be set forth against it.

        56.    State Farm makes no response to the allegations directed against co-defendants.

With respect to the remaining allegations set forth in Paragraph 56 of the Complaint, State Farm

denies any allegation of wrongdoing that may be set forth against it.

        57.    State Farm makes no response to the allegations directed against co-defendants.

With respect to the remaining allegations set forth in Paragraph 57 of the Complaint, State Farm

denies any allegation of wrongdoing that may be set forth against it.

        58.    State Farm makes no response to the allegations directed against co-defendants.

With respect to the remaining allegations set forth in Paragraph 58 of the Complaint, State Farm

denies any allegation of wrongdoing that may be set forth against it.

        59.    State Farm makes no response to the allegations directed against co-defendants.

        60.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in paragraph 60 and, therefore, denies them and demands proof

thereof. By way of further response, State Farm denies any allegation of wrongdoing that may

be set forth against it in Paragraph 60 of the Complaint.



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        61.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in paragraph 61 and, therefore, denies them and demands proof

thereof.

        62.    Paragraph 62 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        63.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations set forth in Paragraph 63 and, therefore, denies them and demands proof

thereof.

        64.    Paragraph 64 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        65.    Paragraph 65 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        66.    Paragraph 66 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        67.    Paragraph 67 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.




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        68.      Paragraph 68 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        69.      Paragraph 69 constitutes a conclusion of law to which no response is required.

By way of further response, State Farm makes no response to the allegations directed against co-

defendants and denies any allegation of wrongdoing that may be set forth against it in Paragraph

69 of the Complaint.

        70.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies all allegations set forth against it in Paragraph 70 of

the Complaint.

        71.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies all allegations set forth against it in Paragraph 71 of

the Complaint.

        72.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies all allegations set forth against it in Paragraph 72 of

the Complaint.

        73.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies all allegations set forth against it in Paragraph 73 of

the Complaint.

        74.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies all allegations set forth against it in Paragraph 74 of

the Complaint.




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        75.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies all allegations set forth against it in Paragraph 75 of

the Complaint.

                                            DAMAGES

        76.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies any allegations set forth against it in Paragraph 76

of the Complaint.

        77.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies any allegations set forth against it in Paragraph 77

of the Complaint.

        78.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies any allegations set forth against it in Paragraph 78

of the Complaint.

        79.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies any allegations set forth against it in Paragraph 79

of the Complaint.

        80.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies any allegations set forth against it in Paragraph 80

of the Complaint.

        81.      State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies any allegations set forth against it in Paragraph 81

of the Complaint.




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        82.    State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies any allegations set forth against it in Paragraph 82

of the Complaint.

        83.    State Farm makes no response to the allegations directed against co-defendants.

By way of further answer, State Farm denies any allegations set forth against it in Paragraph 83

of the Complaint.

        84.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in Paragraph 84 and, therefore, denies them and demands proof thereof.

        85.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in Paragraph 85 and, therefore, denies them and demands proof thereof.

        86.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in Paragraph 86 and, therefore, denies them and demands proof thereof.

        87.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in Paragraph 87 and, therefore, denies them and demands proof thereof.

        88.    State Farm lacks information or knowledge sufficient to form a belief as to the

truth of the allegations in Paragraph 88 and, therefore, denies them and demands proof thereof.

                                  FIRST CAUSE OF ACTION
                       (Willful Violation of the FCRA as to each Bureau)

        89.    State Farm incorporates by reference its responses to Paragraphs 1 through 88 of

the Complaint as if fully set forth at length herein.

        90.    State Farm makes no response to the allegations directed against co-defendants.

By way of further response, State Farm denies any allegations set forth against it in Paragraph 90

of the Complaint.

        91.    State Farm makes no response to the allegations directed against co-defendants.


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        92.    State Farm makes no response to the allegations directed against co-defendants.

        93.    State Farm refers plaintiff to the FCRA for an accurate reading of its content

denying any allegations inconsistent therewith. By way of further response, State Farm makes

no response to the allegations directed against co-defendants.

        94.    Paragraph 94 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        95.    State Farm refers plaintiff to the FCRA for an accurate reading of its content

denying any allegations inconsistent therewith. By way of further response, State Farm makes

no response to the allegations directed against co-defendants.

        96.    Paragraph 96 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        97.    Paragraph 97 constitutes a conclusion of law to which no response is required. To

the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        98.    State Farm makes no response to the allegations directed against co-defendants.

        99.    State Farm makes no response to the allegations directed against co-defendants.

        100.   State Farm makes no response to the allegations directed against co-defendants.

        101.   Paragraph 101 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.




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        102.   Paragraph 102 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

                               SECOND CAUSE OF ACTION
                     (Negligent Violation of the FCRA as to each Bureau)

        103.   State Farm incorporates by reference its responses to Paragraphs 1 through 102 of

the Complaint as if fully set forth at length herein.

        104.   State Farm makes no response to the allegations directed against co-defendants.

By way of further response, State Farm denies any allegations set forth against it in Paragraph

104 of the Complaint.

        105.   State Farm makes no response to the allegations directed against co-defendants.

        106.   State Farm makes no response to the allegations directed against co-defendants.

        107.   State Farm refers plaintiff to the FCRA for an accurate reading of its content

denying any allegations inconsistent therewith. By way of further response, State Farm makes

no response to the allegations directed against co-defendants.

        108.   Paragraph 108 constitutes a conclusion of law to which no response is required.

By way of further answer, State Farm makes no response to the allegations directed against co-

defendants.

        109.   State Farm refers plaintiff to the FCRA for an accurate reading of its content

denying any allegations inconsistent therewith. By way of further response, State Farm makes

no response to the allegations directed against co-defendants.

        110.   Paragraph 110 constitutes a conclusion of law to which no response is required.

By way of further answer, State Farm makes no response to the allegations directed against co-

defendants.


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        111.    Paragraph 111 constitutes a conclusion of law to which no response is required.

By way of further answer, State Farm makes no response to the allegations directed against co-

defendants.

        112.    State Farm makes no response to the allegations directed against co-defendants.

        113.    State Farm makes no response to the allegations directed against co-defendants.

        114.    State Farm makes no response to the allegations directed against co-defendants.

        115.    Paragraph 115 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

        116.    Paragraph 116 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants.

                                  THIRD CAUSE OF ACTION
                      (Willful Violation of the FCRA as to each Furnisher)

        117.    State Farm incorporates by reference its responses to Paragraphs 1 through 116 of

the Complaint as if fully set forth at length herein.

        118.    State Farm refers plaintiff to its Complaint for an accurate reading of its

allegations denying any allegations inconsistent therewith. By way of further response, State

Farm denies any allegation of wrongdoing that may be set forth against it and denies that

plaintiff has a claim for a willful violation of the FCRA.

        119.    Paragraph 119 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm denies the allegations set forth in the form

alleged and leaves plaintiff to its proofs.




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        120.    Paragraph 120 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm denies the allegations set forth in the form

alleged and leaves plaintiff to its proofs.

        121.    Paragraph 121 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm denies the allegations set forth in the form

alleged and leaves plaintiff to its proofs.

        122.    Paragraph 122 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants and denies and allegation of wrongdoing set forth against it in paragraph

122.

        123.    Paragraph 123 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants and denies and allegation of wrongdoing set forth against it in paragraph

123.

        124.    Paragraph 124 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants and denies and allegation of wrongdoing set forth against it in paragraph

124.

        125.    Paragraph 125 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants and denies and allegation of wrongdoing set forth against it in paragraph

125.




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                               FOURTH CAUSE OF ACTION
                    (Negligent Violation of the FCRA as to each Furnisher)

        126.    State Farm incorporates by reference its responses to Paragraphs 1 through 125 of

the Complaint as if fully set forth at length herein.

        127.    State Farm refers plaintiff to its Complaint for an accurate reading of its

allegations. By way of further response, State Farm denies any allegation of wrongdoing that

may be set forth against it and denies that plaintiff has a claim for a willful violation of the

FCRA.

        128.    Paragraph 128 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm denies the allegations set forth in the form

alleged and leaves plaintiff to its proofs.

        129.    Paragraph 129 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm denies the allegations set forth in the form

alleged and leaves plaintiff to its proofs.

        130.    Paragraph 130 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm denies the allegations set forth in the form

alleged and leaves plaintiff to its proofs.

        131.    Paragraph 131 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants and denies any allegation of wrongdoing that may be set forth against it in

Paragraph 131.

        132.    Paragraph 132 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed




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against co-defendants and denies any allegation of wrongdoing that may be set forth against it in

Paragraph 132.

        133.   State Farm makes no response to the allegations directed against co-defendants.

By way of further response, State Farm denies any allegation of wrongdoing that may be set

forth against it in Paragraph 133.

        134.   Paragraph 134 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants and denies any allegation of wrongdoing that may be set forth against it in

Paragraph 134.

        135.   Paragraph 135 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants and denies any allegation of wrongdoing that may be set forth against it in

Paragraph 135.

        136.   Paragraph 136 constitutes a conclusion of law to which no response is required.

To the extent a response is required, State Farm makes no response to the allegations directed

against co-defendants and denies any allegation of wrongdoing that may be set forth against it in

Paragraph 136.

        WHEREFORE, Defendant State Farm Bank, F.S.B., demands judgment dismissing the

Complaint, together with attorney’s fees, interest, cost of suit and such other further relief as the

Court deem just and proper.

                                     AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

        The Complaint fail to state a cause of action upon which relief can be granted.



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                                SECOND AFFIRMATIVE DEFENSE

          Negligence or wrongful acts, if any, were caused by a third party over whom State Farm

has no control.

                                 THIRD AFFIRMATIVE DEFENSE

          The alleged claims at issue are or may be barred by the applicable statute of limitations

and/or any contractual limitation.

                               FOURTH AFFIRMATIVE DEFENSE

          This Court does not have jurisdiction over the State Farm.

                                 FIFTH AFFIRMATIVE DEFENSE

          No act or failure on the part of State Farm is a legal cause of Plaintiff’s claimed damages.

                                 SIXTH AFFIRMATIVE DEFENSE

          State Farm did not owe nor breach any duty to Plaintiff.

                                EIGHTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by the doctrines of estoppel, laches, unclean hands, and/or

waiver.

                                 NINTH AFFIRMATIVE DEFENSE

          All of State Farm’s actions were done in good faith.

                                TENTH AFFIRMATIVE DEFENSE

          State Farm at all times acted without willfulness, maliciousness, knowledge or intent to

injure.

                              ELEVENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claim fails, in whole or part, because the Complaint fails to join all indispensable

parties as required.




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                            TWELFTH AFFIRMATIVE DEFENSE

        State Farm acted, at all times relevant to Plaintiff’s Complaint, in compliance with the

FCRA and is entitled to every defense available to it under the FCRA.

                          THIRTEENTH AFFIRMATIVE DEFENSE

        State Farm did not negligently violate the FCRA or any other legal requirement.

                          FOURTEENTH AFFIRMATIVE DEFENSE

        Any violation of the FCRA, which is expressly denied, was not intentional or willful and

resulted from the acts or omissions of a third-party, through no fault of State Farm.

                           FIFTEENTH AFFIRMATIVE DEFENSE

        Plaintiff’s Complaint is subject to dismissal, in whole or in part, to the extent that Plaintiff

has suffered no cognizable injury.

                           SIXTEENTH AFFIRMATIVE DEFENSE

        State Farm at all times acted reasonably under the circumstances at issue.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

        Plaintiff has failed to show that any alleged FCRA violation caused harm, damage or

emotional distress.




                          EIGHTEENTH AFFIRMATIVE DEFENSE

        Any alleged harm, or emotional distress of Plaintiff was caused by other factors beyond

the alleged issues set forth in the Complaint.

                            NINETIETH AFFIRMATIVE DEFENSE

        State Farm provided accurate information to co-defendants in this matter.




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                           TWENTIETH AFFIRMATIVE DEFENSE

        State Farm conducted a reasonable investigation with respect to the claim in dispute.

                         TWENTY FIRST AFFIRMATIVE DEFENSE

        To the extent that Plaintiff has suffered any damages as a result of the matters alleged in

the Complaint, Plaintiff failed to mitigate his damages, if any.

                       TWENTY SECOND AFFIRMATIVE DEFENSE

        Any and all damages sustained by Plaintiff are the direct result of his own actions or

omissions or the actual omissions of unrelated third parties that State Farm has no control.

                        TWENTY THIRD AFFIRMATIVE DEFENSE

        The FCRA does not provide a private right of action for the furnishing of inaccurate

information.

                       TWENTY FOURTH AFFIRMATIVE DEFENSE

        Plaintiff lacks Article III standing in pursuit of these claims.

                         TWENTY FIFTH AFFIRMATIVE DEFENSE

        Plaintiff is not entitled to punitive damages.

                             TWENTY SIXTH AFFIRMATIVE DEFENSE

         To the extent State Farm was required to investigate Plaintiff’s purported disputes,
Plaintiff failed to provide State Farm with sufficient information to enable it to perform a
reasonable investigation of the alleged disputes.

                          TWENTY SEVENTH AFFIRMATIVE DEFENSE

                         State Farm is entitled to its attorneys’ fees in this matter.

                            TWENTY EIGHT AFFIRMATIVE DEFENSE

       State Farm reserves the right to assert additional defenses to such extent warranted by
discovery and the factual developments of this case.




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                                          JURY DEMAND

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, State Farm hereby reserves

the right to demand a trial by jury on all issues so triable.




DATED: June 12, 2023                            WHITE AND WILLIAMS LLP
                                                Attorneys for State Farm,
                                                State Farm Bank, F.S.B.


                                                BY:_______________________________
                                                      ROBERT T. PINDULIC




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